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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                             EASTERN DIVISION


NATALIE ANDERSON and
ANDRE BISASOR,
           Plaintiffs,

v.                                             C.A. No. 1:23-cv-11567-WGY

TODISCO SERVICES, INC.,
PASQUALE TODISCO, III,
MATTHEW W. MAZZARELLA,
DON “DOE”, BILLY “DOE”,
MAPFRE INSURANCE COMPANY,
STEPHANIE WOJDAG,
DANIEL OLOHAN,
ACADIA INSURANCE GROUP,
BENNETT & BELFORT, and
JITEN MANAGEMENT,
            Defendants.

JOINT MOTION TO EXTEND TIME WITHIN WHICH TO REOPEN THE ACTION
                   UPON GOOD CAUSE SHOWN

Now come all parties to this action and move to extend the time within which to reopen
the action for good cause shown until February 14, 2024.

As grounds for the Motion, the parties submit that they have worked diligently to
finalize the language of the Mutual Release and Settlement Agreement, but that in light
of the number of parties involved, they have been unable to finalize the language of the
Mutual Release and Settlement Agreement within the time period provided under the
Settlement Order of Dismissal.
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The Plaintiffs,                       The Defendants,
                                      Todisco Services, Inc.,
                                      Pasquale Todisco, III,
                                      Matthew W. Mazzarella and
/s/ Natalie Anderson                  Acadia Insurance Group,
Natalie Anderson, PRO SE              By their Attorneys,
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                                      Matthew S. Prunk - BBO# 705781
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The Defendant,                        The Defendants,
Bennett & Belfort,                    Mapfre Insurance Company,
By its Attorneys,                     Stephanie Wojdag and Daniel Olohan,
                                      By their Attorney,


/s/ Todd J. Bennett                   /s/ Brian F. Welsh
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        Case 1:23-cv-11567-WGY Document 48 Filed 02/01/24 Page 3 of 3




 The Defendant,
 Jiten Management,
 By its Attorney,


 /s/ Meredith J. McGair
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                            CERTIFICATE OF SERVICE

      I hereby certify that on February 1, 2024, I filed and served this document
through the electronic filing system and the document is available for viewing and/or
downloading from the United States District Court District of Massachusetts using the
CM/ECF system, which will send notification to counsel of record.

                                    /s/ Scott J. Tucker
                                     Scott J. Tucker
